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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

 

-against-
JARED SEARLES, , 19 Crim. 381 (GBD)

Defendant.

GEORGE B. DANIELS, United States District Judge:
The November 4, 2020 status conference is rescheduled to a change of plea hearing at 9:00

am by video conference.

Dated: New York, New York
October 19, 2020
SO ORDERED.

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B. DANIELS
ed ates District Judge

 

 
